. *° Case 4:95-cr-50061- ECF No. 445 filed 03/08/01 ID.7640 Page 1lof5
“AO 24&S (Rev. 5/94) Sheet 1 - Judgmenvina Criminal Case

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UNITED STATES DISTRICT COURT’: DIS STRICT Chung
Eastern District of Michigan

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V. Case Number CR 95-CR. a sodBAN NGLELFLINT
Honorable Paul V. Gadola

UNITED STATES OF AMERICA

DION ERIC SAVAGE
Defendant.

AMENDED JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, DION ERIC SAVAGE, was represented by Kenneth Scott.

The defendant was found guilty on Count One of Second Superseding Indictment after a plea of not
guilty. Accordingly, the defendant is adjudged guilty of such counts, involving the following offenses:

Date Offense
Title & Section Nature of Offense Concluded Count Number(s)
21 U.S.C. 848 Continuing Criminal Enterprise 10/18/96 One

As pronounced on October 21, 1997, the defendant is sentenced as provided in pages 2 through 5 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

Itis ordered that the defendant shall pay to the United States a special assessment of $ 100.00, for Count
One, which shall be due immediately.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days

of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

Signed: March , 2001

/

Raul V. Gadola
United States District Judge

Defendant's SSN: XXX-XX-XXXX
Defendant's Date of Birth: 01/26/64
Defendant's address: 8129 North Vassar Road; Mt. Morris, Ml 48458 _\

 

 
; Case 4:95-cr-50061-B@@® ECF No. 445 filed 03/08/01 Pegg id.7641 Page 2 of 5
“AO 245 S (Rev. 5/94) Sheet 2 - Imprisonment

Judgment--Page 2 of 5
Defendant: DION ERIC SAVAGE
Case Number: CR 95-CR-50061-01-FL
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of the defendant's life.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to

 

at , with a certified copy of this Judgment.

 

United States Marshal

By

 

 
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*AO 245 S (Rev. 5/94) Sheet 3 - Superviset”Release

Judgment--Page 3 of 5

Defendant: DION ERIC SAVAGE
Case Number: CR 95-CR-50061-01-FL

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2)

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12)

13)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years on
Count 1.

While on supervised release, the defendant shall not commit another federal, state, or local crime; shall not illegally possess a
controlled substance; shall comply with the standard conditions that have been adopted by this court (set forth below); and shall
comply with the following additional conditions:

--If ordered to the custody of the Bureau of Prisons, the defendant shall report in person to the probation office in which the
defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

--If this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised release
that the defendant pay, as directed by the Probation Office, any such fine, assessments, costs, and restitution that remain unpaid
at the commencement of the term of supervised release.

--The defendant shall not own or possess a firearm, destructive device, or dangerous weapon.

STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

The defendant shall not leave the judicial district without the permission of the court or probation officer.

The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete
written report within the first five days of each month.

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons.

The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment.

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any narcotic
or other controlled substance, or any paraphernalia related to such substances.

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shal! not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view by the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by alaw enforcement officer.
The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.

 
 

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*AO 245 S (Rev. 5/94) Sheet 5 - Fine

Judgment--Page 4 of 5

Defendant: DION ERIC SAVAGE
Case Number: CR 95-CR-50061-01-FL

FINE

The defendant shall pay a fine of $ 25,000.00. This fine includes any costs of incarceration and
Supervision.

The Court has determined that the defendant does not have the ability to pay interest, and itis accordingly
ordered that the interest requirement is waived.

This fine is imposed pursuant to 18 U.S.C. 3571 .

 

If the fine is not paid, the court may sentence the defendant to any sentence which might have been
originally imposed. See 18 U.S.C. § 3614.

 

 
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nO 245 S (Rev. 5/94) Sheet 7 - Stateme Reasons

Judgment--Page 5 of 5
Defendant: DION ERIC SAVAGE
Case Number: CR 95-CR-50061-01-FL

STATEMENT OF REASONS
The court adopts the factual findings and guideline application in the presentence report except that the
court granted the government's request for a two-point obstruction enhancement but also granted the defendant's
objection to a firearm enhancement which deducted two-points from the offense level. Therefore, the changes

had no effect on the findings of the Probation Department.

Guideline Range Determined by the Court:
Total Offense Level: 44

Criminal History Category: ll

Imprisonment Range: Life Imprisonment
Supervised Release Range: 5 years

Fine Range: $ 25,000 to $ 6,000,000
Restitution: $ nla

The sentence is within the guideline range, that range does not exceed 24 months, and the court finds no
reason to depart from the sentence called for by application of the guidelines.

 
